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  IN THE UNITED STATES BANKRUPTCY COURT FOR THE WESTERN DISTRICT OF
                            PENNSYLVANIA

In Re:                                       )
                                             )         BANKR. NO. 20-20508-CMB
GREGORY A. RAGER and                         )
HOLLY J. RAGER,                              )
                                             )         CHAPTER 13
            Debtors.                         )
_________________________________            )
                                             )
GREGORY A. RAGER and                         )
HOLLY J. RAGER,                              )
                                             )
               Debtors/Movants,              )
                                             )
         v.                                  )
                                             )
RONDA J. WINNECOUR, Trustee,                 )
WELLS FARGO BANK, N.A., and                  )
FREEDOM MORTGAGE CORP.,                      )
                                             )
               Respondents.                  )

                      NOTICE OF PROPOSED MODIFICATION TO
                            PLAN DATED MARCH 9, 2020

        1. Pursuant to 11 U.S.C. § 1329, the Debtor(s) has filed an Amended Chapter 13 Plan
dated February 3, 2022, which is annexed hereto at Exhibit “A” (the “Amended Chapter 13
Plan”). A summary of the modification is set forth below in paragraphs 4 through 6 of this
Notice.

       2. All Objections to the Amended Chapter 13 Plan must be filed and served by no later
than 21 days after the date of this Notice upon the Debtor(s), Chapter 13 Trustee and any creditor
whose claim allowance or treatment is the subject of the Objection. Untimely Objections will not
be considered. Any creditor who files a timely Objection to the Amended Chapter 13 Plan must
appear at the scheduled Initial Confirmation Hearing on the Amended Chapter 13 Plan.

        3. A virtual (via Zoom) Initial Confirmation Hearing on the Amended Chapter 13 Plan
will be held on March 17, 2022, at 9:00 a.m., before the Chapter 13 Trustee. The table and
meeting I.D., to participate by Zoom (and telephone number and meeting I.D. to participate by
telephone if you lack the ability to participate by Zoom), can be found at
http://www.ch13pitt.com/calendar/ several days before the meeting. Parties are expected to
familiarize themselves with the Trustee’s website at http://www.ch13pitt.com/ and to comply
with the procedures set forth at that site for conference participation.



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        4. Pursuant to the Amended Chapter 13 Plan, the Debtor(s) seeks to modify the Plan in
the following particulars:

       a. Catch up on plan arrearages.
       b. Abandon the 2012 Dodge Grand Caravan to Wells Fargo Bank, N.A.
       c. Engage in Loss Mitigation with Freedom Mortgage Corp. Debtors shall file a
          motion for loss mitigation.
       5. The proposed modification to the Plan will impact the treatment of the claims of the
following creditors, and in the following particulars:

       a. Wells Fargo Bank, N.A. shall receive the collateral and no further payments
          through the plan.
       b. Debtors intend to modify the mortgage loan with Freedom Mortgage Corp.

     6. Debtor(s) submits that the reason(s) for the modification is (are) as follows:

       a. Debtor Husband is disabled from employment and had an application approved
          for disability benefits. Debtors shall file an Amended Schedule I. The plan is
          feasible based upon Debtors’ income.
      7. The Debtor(s) submits that the requested modification is being proposed in good faith,
and not for any means prohibited by applicable law. The Debtor(s) further submits that the
proposed modification complies with 11 U.S.C. §§ 1322(a), 1322(b), 1325(a) and 1329 and,
except as set forth above, there are no other modifications sought by way of the Amended
Chapter 13 Plan.

       WHEREFORE, the Debtor(s) respectfully requests that the Court enter an Order
confirming the Amended Chapter 13 Plan, and for such other relief the Court deems equitable
and just.

                                             Respectfully submitted,

Dated: February 3, 2022                      /s/ Glenn R. Bartifay
                                             GLENN R. BARTIFAY, ESQUIRE
                                             Counsel for Debtors/Movants
                                             Pa. Id. No. 68763

                                             BARTIFAY LAW OFFICES, P.C.
                                             2009 Mackenzie Way, Suite 100
                                             Cranberry Township, PA 16066
                                             (412) 824-4011
                                             gbartifay@bartifaylaw.com




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 Fill in this information to identify your case:
 Debtor 1               Gregory A Rager
                              First Name            Middle Name                 Last Name
 Debtor 2            Holly J Rager
 (Spouse, if filing) First Name      Middle Name                                Last Name
 United States Bankruptcy Court for the:                                 WESTERN DISTRICT OF                                 Check if this is an amended plan, and
                                                                           PENNSYLVANIA

                                                                                                                              list below the sections of the plan that
 Case number:                 20-20508                                                                                        have been changed.
 (If known)                                                                                                                   2.1, 3.5, and 4.3


Western District of Pennsylvania                                                EXHIBIT "A"
Chapter 13 Plan Dated: February                                3, 2022


 Part 1:       Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances. Plans that do not comply with local rules and judicial
                           rulings may not be confirmable. The terms of this plan control unless otherwise ordered by the court.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. YOUR CLAIM MAY BE REDUCED, MODIFIED, OR
                           ELIMINATED.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           IF YOU OPPOSE THIS PLAN’S TREATMENT OF YOUR CLAIM OR ANY PROVISION OF THIS PLAN, YOU OR
                           YOUR ATTORNEY MUST FILE AN OBJECTION TO CONFIRMATION AT LEAST SEVEN (7) DAYS BEFORE THE
                           DATE SET FOR THE CONFIRMATION HEARING, UNLESS OTHERWISE ORDERED BY THE COURT. THE COURT
                           MAY CONFIRM THIS PLAN WITHOUT FURTHER NOTICE IF NO OBJECTION TO CONFIRMATION IS FILED.
                           SEE BANKRUPTCY RULE 3015. IN ADDITION, YOU MAY NEED TO FILE A TIMELY PROOF OF CLAIM TO BE
                           PAID UNDER ANY PLAN.

                           The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether the plan
                           includes each of the following items. If the “Included” box is unchecked or both boxes are checked on each line, the provision
                           will be ineffective if set out later in the plan.

 1.1          A limit on the amount of any claim or arrearages set out in Part 3, which may result  Included                                   Not Included
              in a partial payment or no payment to the secured creditor (a separate action will be
              required to effectuate
              such limit)
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,  Included                                    Not Included
              set out in Section 3.4 (a separate action will be required to effectuate such limit)
 1.3          Nonstandard provisions, set out in Part 9                                              Included                                  Not Included

 Part 2:       Plan Payments and Length of Plan

2.1           Debtor(s) will make regular payments to the trustee:

              Total amount of $860 per month for a remaining plan term of 60 months shall be paid to the trustee from future earnings as follows:
       Payments: By Income Attachment                  Directly by Debtor                                                 By Automated Bank Transfer
       D#1          $                                  $ 860.00 TFS                                                       $
       D#2          $                                  $                                                                  $
       (Income attachments must be used by Debtors having attachable income)                                              (SSA direct deposit recipients only)

2.2 Additional payments.

                         Unpaid Filing Fees. The balance of $                shall be fully paid by the Trustee to the Clerk of the Bankruptcy court form the first

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                          available funds.


      Check one.

                         None. If “None” is checked, the rest of § 2.2 need not be completed or reproduced.

2.3          The total amount to be paid into the plan (plan base) shall be computed by the trustee based on the total amount of plan payments
             plus any additional sources of plan funding described above.

 Part 3:      Treatment of Secured Claims

3.1          Maintenance of payments and cure of default, if any, on Long-Term Continuing Debts.

             Check one.

                        None. If “None” is checked, the rest of Section 3.1 need not be completed or reproduced.
                        The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
                         required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed by the
                         trustee. Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, without interest. If relief
                         from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court,
                         all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be
                         treated by the plan. If monthly payment changes exist, state the amounts and effective dates of the changes.

 Name of creditor and redacted account Collateral                                        Current installment            Amount of arrearage Start date
 number                                                                                  payment                        (if any)            (MM/YYYY)
                                                                                         (including escrow)
 Freedom Mortgage Corp., Acct.                              5868 Madison Avenue
 2810, Claim 10                                             Export, PA 15632            $574.04 - Loss Mitigation                  $0.00         02/2022 for the
Insert additional claims as needed.                                                                                                          adequate assurance
                                                                                                                                             payment
3.2          Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.

             Check one.

                         None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3          Secured claims excluded from 11 U.S.C. § 506.

             Check one.
               None. If “None” is checked, the rest of Section 3.3 need not be completed or reproduced.
               The claims listed below were either:
                       (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired
                           for the personal use of the debtor(s), or

                       (2) incurred within one (1) year of the petition date and secured by a purchase money security interest in any other thing of value.

                       These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by the
                       trustee.

 Name of Creditor and                Collateral                                   Amount of claim                  Interest rate     Monthly payment to
 redacted account                                                                                                                    creditor
 number

 Onemain Acct.
 9178, Claim 1                       2013 Chevy Equinox                           $8,265.67                              6.00%                                 $196.10

Insert additional claims as needed.

3.4          Lien avoidance.

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Check one.
                         None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced. The remainder of this section will be
                          effective only if the applicable box in Part 1 of this plan is checked

3.5          Surrender of collateral.

             Check one.

                      None. If “None” is checked, the rest of Section 3.5 need not be completed or reproduced.
                      The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request
                       that upon final confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay
                       under 11 U.S.C. § 1301 be terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral
                       will be treated in Part 5.

 Name of Creditor and redacted account number                                        Collateral
 Wells Fargo Dealer Svc
 Acct. 5823, Claim 4                                                                 2012 Dodge Grand Caravan

Insert additional claims as needed.


3.6          Secured tax claims.

 Name of taxing authority                 Total amount of claim      Type of tax                  Interest Rate* Identifying number(s) if       Tax periods
                                                                                                                 collateral is real estate


 -NONE-

Insert additional claims as needed.

* The secured tax claims of the Internal Revenue Service, Commonwealth of Pennsylvania and any other tax claimants shall bear interest at the
statutory rate in effect as of the date of confirmation.

 Part 4:      Treatment of Fees and Priority Claims

4.1          General

             Trustee’s fees and all allowed priority claims, including Domestic Support Obligations other than those treated in Section 4.5, will be paid
             in full without postpetition interest.

4.2          Trustee’s fees

             Trustee’s fees are governed by statute and may change during the course of the case. The trustee shall compute the trustee’s percentage fees
             and publish the prevailing rates on the court’s website for the prior five years. It is incumbent upon the debtor(s)’ attorney or debtor (if pro
             se) and the trustee to monitor any change in the percentage fees to ensure that the plan is adequately funded.

4.3          Attorney's fees.

             Attorney’s fees are payable to Glenn R. Bartifay, Esquire 68763. In addition to a retainer of $87.00 (of which $ 87.00 was a
             payment to reimburse costs advanced and/or a no-look costs deposit) already paid by or on behalf of the debtor, the amount of $6,413.00 is
             to be paid at the rate of $200.00 per month. Including any retainer paid, a total of $ 5,000.00* in fees and costs reimbursement has
             been approved by the court to date, based on a combination of the no-look fee and costs deposit and previously approved application(s) for
             compensation above the no-look fee. An additional $ 1,500.00 will be sought through a fee application to be filed and approved before
             any additional amount will be paid through the plan, and this plan contains sufficient funding to pay that additional amount, without
             diminishing the amounts required to be paid under this plan to holders of allowed unsecured claims. *Includes Loss Mitigation.

              Check here if a no-look fee in the amount provided for in Local Bankruptcy Rule 9020-7(c) is being requested for services rendered to
             the debtor(s) through participation in the court’s Loss Mitigation Program (do not include the no-look fee in the total amount of
             compensation requested, above).


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4.4          Priority claims not treated elsewhere in Part 4.

                    None. If “None” is checked, the rest of Section 4.4 need not be completed or reproduced.
Insert additional claims as needed

4.5          Priority Domestic Support Obligations not assigned or owed to a governmental unit.

                         None. If “None” is checked, the rest of Section 4.5 need not be completed or reproduced.

4.6          Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount.
             Check one.
                    None. If “None” is checked, the rest of § 4.6 need not be completed or reproduced.



4.7          Priority unsecured tax claims paid in full.

                         None. If “None” is checked, the rest of Section 4.7 need not be completed or reproduced.

4.8          Postpetition utility monthly payments.

The provisions of this Section 4.8 are available only if the utility provider has agreed to this treatment. The charges for post petition utility service
are allowed as an administrative claim. These payments comprise a single monthly combined payment for postpetition utility services, any
postpetition delinquencies, and unpaid security deposits. The claim payment will not change for the life of the plan unless amended. Should the
utility obtain an order authorizing a payment change, the debtor(s) will be required to file an amended plan. These payments may not resolve all
of the postpetition claims of the utility. Any unpaid post petition utility claims will survive discharge and the utility may require additional funds
from
the debtor(s) after discharge.

 Name of creditor and redacted account                        Monthly payment                              Postpetition account number
 number
 -NONE-


Insert additional claims as needed.

 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified.

             Debtor(s) ESTIMATE(S) that a total of $0.00 will be available for distribution to nonpriority unsecured creditors.

             Debtor(s) ACKNOWLEDGE(S) that a MINIMUM of $0.00 shall be paid to nonpriority unsecured creditors to comply with the
             liquidation alternative test for confirmation set forth in 11 U.S.C. § 1325(a)(4).

             The total pool of funds estimated above is NOT the MAXIMUM amount payable to this class of creditors. Instead, the actual pool of funds
             available for payment to these creditors under the plan base will be determined only after audit of the plan at time of completion. The
             estimated percentage of payment to general unsecured creditors is 0.00%. The percentage of payment may change, based upon the total
             amount of allowed claims. Late-filed claims will not be paid unless all timely filed claims have been paid in full. Thereafter, all late-filed
             claims will be paid pro-rata unless an objection has been filed within thirty (30) days of filing the claim. Creditors not specifically
             identified elsewhere in this plan are included in this class.

5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims.

Check one.

                         None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims.

             Check one.

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                         None. If “None” is checked, the rest of § 5.4 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected.

             Check one.

                         None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



 Part 7:      Vesting of Property of the Estate

7.1          Property of the estate shall not re-vest in the debtor(s) until the debtor(s) have completed all payments under the confirmed plan.

 Part 8:      General Principles Applicable to All Chapter 13 Plans

8.1          This is the voluntary chapter 13 reorganization plan of the debtor(s). The debtor(s) understand and agree(s) that the chapter 13 plan may be
             extended as necessary by the trustee (up to any period permitted by applicable law) to insure that the goals of the plan have been achieved.
             Notwithstanding any statement by the trustee’s office concerning amounts needed to fund a plan, the adequacy of plan funding in order to
             meet the plan goals remains the sole responsibility of debtor(s) and debtor(s)’ attorney. It shall be the responsibility of the debtor(s) and
             debtor(s)’ attorney to monitor the plan in order to ensure that the plan remains adequately funded during its entire term.

8.2          Prior to the meeting of creditors, the debtor(s) shall comply with the tax return filing requirements of 11 U.S.C § 1308 and provide the
             trustee with documentation of such compliance by the time of the meeting. Debtor(s)’ attorney or debtor(s) (if pro se) shall provide the
             trustee with the information needed for the trustee to comply with the requirements of 11 U.S.C. § 1302 as to the notification to be given to
             Domestic Support Obligation creditors, and debtor(s)’ attorney or debtor(s) (if pro se) shall provide the trustee with the calculations relied
             upon to determine the debtor(s)’ current monthly income and disposable income.

8.3          The debtor(s) shall have a duty to inform the trustee of any assets acquired while the chapter 13 case is pending, such as insurance
             proceeds, recovery on any lawsuit or claims for personal injury or property damage, lottery winnings, or inheritances. The debtor(s) must
             obtain prior court approval before entering into any postpetition financing or borrowing of any kind, and before selling any assets.

8.4           Unless otherwise stated in this plan or permitted by a court order, all claims or debts provided for by the plan to receive a distribution shall
             be paid by and through the trustee.

8.5          Percentage fees to the trustee are paid on receipts of plan payments at the rate fixed by the United States Trustee. The trustee has the
             discretion to adjust, interpret, and implement the distribution schedule to carry out the plan, provided that, to the extent the trustee seeks a
             material modification of this plan or its contemplated distribution schedule, the trustee must seek and obtain prior authorization of the
             court. The trustee shall follow this standard plan form sequence unless otherwise ordered by the court:

             Level One:                 Unpaid filing fees.
             Level Two:                 Secured claims and lease payments entitled to 11 U.S.C. § 1326(a)(1)(C) pre-confirmation adequate protection
                                        payments.
             Level Three:               Monthly ongoing mortgage payments, ongoing vehicle and lease payments, installments on professional fees, and
                                        postpetition utility claims.
             Level Four:                Priority Domestic Support Obligations.
             Level Five:                Mortgage arrears, secured taxes, rental arrears, vehicle payment arrears.
             Level Six:                 All remaining secured, priority and specially classified claims, and miscellaneous secured arrears.
             Level Seven:               Allowed nonpriority unsecured claims.
             Level Eight:               Untimely filed nonpriority unsecured claims for which an objection has not been filed.

8.6          As a condition to the debtor(s)’ eligibility to receive a discharge upon successful completion of the plan, debtor(s)’ attorney or debtor(s) (if
             pro se) shall file Local Bankruptcy Form 24 (Debtor’s Certification of Discharge Eligibility) with the court within forty-five (45) days after
             making the final plan payment.

8.7           The provisions for payment to secured, priority, and specially classified unsecured creditors in this plan shall constitute claims in
             accordance with Bankruptcy Rule 3004. Proofs of claim by the trustee will not be required. In the absence of a contrary timely filed proof
             of claim, the amounts stated in the plan for each claim are controlling. The clerk shall be entitled to rely on the accuracy of the information

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             contained in this plan with regard to each claim. Unless otherwise ordered by the court, if a secured, priority, or specially classified creditor
             timely files its own claim, then the creditor’s claim shall govern, provided the debtor(s) and debtor(s)’ attorney have been given notice and
             an opportunity to object. The trustee is authorized, without prior notice, to pay claims exceeding the amount provided in the plan by not
             more than $250.

8.8          Any creditor whose secured claim is not modified by this plan and subsequent order of court shall retain its lien.

8.9          Any creditor whose secured claim is modified or whose lien is reduced by the plan shall retain its lien until the underlying debt is
             discharged under 11 U.S.C. § 1328 or until it has been paid the full amount to which it is entitled under applicable nonbankruptcy law,
             whichever occurs earlier. Upon payment in accordance with these terms and entry of a discharge order, the modified lien will terminate and
             be released. The creditor shall promptly cause all mortgages, liens, and security interests encumbering the collateral to be satisfied,
             discharged, and released.

8.10         The provisions of Sections 8.8 and 8.9 will also apply to allowed secured, priority, and specially classified unsecured claims filed after the
             bar date. LATE-FILED CLAIMS NOT PROPERLY SERVED ON THE TRUSTEE AND THE DEBTOR(S)’ ATTORNEY OR
             DEBTOR(S) (IF PRO SE) WILL NOT BE PAID. The responsibility for reviewing the claims and objecting where appropriate is placed
             upon the debtor(s).

 Part 9:      Nonstandard Plan Provisions

9.1          Check "None" or List Nonstandard Plan Provisions
                   None. If “None” is checked, the rest of Part 9 need not be completed or reproduced.

 Part 10: Signatures:

10.1         Signatures of Debtor(s) and Debtor(s)’ Attorney

By signing this plan the undersigned, as debtor(s)’ attorney or the debtor(s) (if pro se), certify(ies) that I/we have reviewed any prior confirmed
plan(s),order(s) confirming prior plan(s), proofs of claim filed with the court by creditors, and any orders of court affecting the amount(s) or
treatment of any creditor claims, and except as modified herein, this proposed plan conforms to and is consistent with all such prior plans, orders, and
claims. False certifications shall subject the signatories to sanctions under Bankruptcy Rule 9011.

By filing this document, debtor(s)’ attorney or the debtor(s) (if pro se), also certify(ies) that the wording and order of the provisions in this chapter
13 plan are identical to those contained in the standard chapter 13 plan form adopted for use by the United States Bankruptcy Court for the
Western District of Pennsylvania, other than any nonstandard provisions included in Part 9. It is further acknowledged that any deviation from
the standard plan form shall not become operative unless it is specifically identified as “nonstandard” terms and are approved by the court in a
separate order.

 X     /s/ Gregory A Rager                                                    X      /s/ Holly J Rager
       Gregory A Rager                                                               Holly J Rager
       Signature of Debtor 1                                                         Signature of Debtor 2

       Executed on            February 3, 2022                                       Executed on      February 3, 2022

 X     /s/ Glenn R. Bartifay, Esquire                                         Date     February 3, 2022
       Glenn R. Bartifay, Esquire 68763
       Signature of debtor(s)' attorney




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